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es UNITED STATES DISTRICT COURT

 

Be
or WESTERN DISTRICT OF LOUISIANA
ALEXANDRIA DIVISION
ALBERT RONNIE BURRELL and CIVIL ACTION NO. 01-2679

MICHAEL RAY GRAHAM, JR.
-vs- JUDGE DRELL

TOMMY ADKINS, et al. MAGISTRATE JUDGE KIRK

 

JUDGMENT

This matter having come for trial on the merits pursuant to regquiar
assignment on March 4 - 6, 9 - 12, and 16 - 20, 2009; the jury having returned its
Verdict Form as follows:

1. Do you find by a preponderance of the evidence that defendant Monty
Forbess maliciously prosecuted Albert Ronnie Burrell?

YES NO _X

2. Do you find by a preponderance of the evidence that defendant Monty
Forbess maliciously prosecuted Michael Ray Graham, Jr.?

YES NO _X

3. Do you find by a preponderance of the evidence that there was a material
Brady violation or violations occurring during the 1986-87 case of Albert
Ronnie Burrell which violation(s} were proximately caused by the District
Attorney's failure, through deliberate indifference, adequately to train and
supervise Dan Grady where the need for additional training and
supervision was obvious?

YES NO_X
 

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4, Do you find by a preponderance of the evidence that there was a material
Brady violation or violations occurring during the 1986-87 case of Michael
Ray Graham, Jr. which violation(s) were proximately caused by the District
Attomey's failure, through deliberate indifference, adequately to train and
supervise Dan Grady where the need for additional training and
supervision was obvious?

YES NO_X ;

and the Court having adopted the Jury’s Verdict as its own, it is hereby
ORDERED, ADJUDGED, AND DECREED that there be judgment in favor

of Defendants Monty Forbess; Robert G. “Bob” Buckley, Sheriff of Union Parish;

and Robert Levy, District Attorney for the Third Judicial District of the State of

Louisiana, and that all Plaintiffs’ claims be DISMISSED WITH PREJUDICE at

Plaintiffs’ cost. Any pending motions are DENIED AS MOOT.

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SIGNED on this 23 day of March, 2009, at Alexandria, Louisiana.

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DEE D. DRELL

UNITED STATES DISTRICT JUDGE
